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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

MARK T. ESPER                             *
c/o Mark S. Zaid, P.C.                    *
1250 Connecticut Avenue, N.W.             *
Suite 700                                 *
Washington, D.C. 20036                    *
                                          *
       Plaintiff,                         *
                                          *
       v.                                 *    Civil Action No: 21-_____
                                          *
DEPARTMENT OF DEFENSE                     *
Washington, D.C. 20301                    *
                                          *
       Defendant.                         *
*      *     *         *       *      *   *    *      *      *      *                *
                                      COMPLAINT

    Plaintiff Mark T. Esper, who served as the Twenty-Seventh Secretary of Defense,

brings this action against Defendant Department of Defense for injunctive and

declaratory relief pursuant to the Administrative Procedure Act, 5 U.S.C. § 701 et seq.,

the Federal Declaratory Judgment Act, 28 U.S.C. § 2201, the All Writs Act, 28 U.S.C.

§ 1651, and the First Amendment to the Constitution of the United States.

    Defendant DoD has unlawfully imposed a prior restraint upon Mr. Esper by delaying,

obstructing and infringing on his constitutional right to publish his unclassified

manuscript entitled “A Sacred Oath” (“Manuscript”), which is scheduled to be published

by William Morrow, an imprint of HarperCollins.

                                     JURISDICTION

    1. This Court has jurisdiction over this action pursuant to 5 U.S.C. § 702 and

28 U.S.C. § 1331.
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                                         VENUE

    2. Venue is appropriate in this District under 5 U.S.C. § 703 and 28 U.S.C. § 1391.

                                        PARTIES

    3. Plaintiff Mark T. Esper (“Secretary Esper”) served as the Twenty-Seventh U.S.

Secretary of Defense from July 2019 to November 2020. He previously served as the

Twenty-Third Secretary of the Army from November 2017 to July 2019. Secretary Esper

graduated from West Point in 1986 and saw combat during the first Gulf War as an

infantry officer with the 101st Airborne Division. He subsequently served in 3-325 ABCT

in Europe, the Army Reserve and the Army National Guard. After leaving active military

service, he served at The Heritage Foundation, on Capitol Hill, at the Pentagon as a

Deputy Assistant Secretary of Defense, as Executive Vice-President for the Aerospace

Industries Association, and at the U.S. Chamber of Commerce. Immediately before

joining the Trump Administration, Secretary Esper worked as a senior corporate

executive at the Raytheon Company. He received a master’s degree in Public

Administration from the John F. Kennedy School of Government at Harvard in 1995, and

a doctorate in public policy from George Washington University in 2008. He continues to

hold access eligibility to classified information and is required by virtue of one or more

secrecy agreements that he executed to submit his writings for prepublication review.1

    4. Defendant Department of Defense (“DoD”) is an agency of the United States as

defined by 5 U.S.C. § 701 and subject to the jurisdiction of this Court. DoD’s actions




1
 This Complaint was drafted entirely by legal counsel who is not subject at this time in
this specific case to any prepublication review requirement, nor was any classified
information relied upon or reviewed.
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have unreasonably delayed and prevented Secretary Esper from publishing his intended

Manuscript.

                                         FACTS

   5. On or about May 24, 2021, Secretary Esper submitted his Manuscript to

Defendant DoD’s Office of Pre-publication and Security Review (“OPSR”), and receipt

was acknowledged the same day. Although Secretary Esper is challenging the actions and

classification decisions of DoD, throughout this review process the staff of DoDOPSR

have been nothing but professional and cooperative and their involvement has been

appreciated.

   6. “A Sacred Oath”, which was originally submitted to DoD with the draft working

title “Last Line of Defense”, is a memoir of Secretary Esper’s time in office from

November 2017, when he was sworn in as Secretary of the Army, through his tenure as

Secretary of Defense until November 2020. As Defense Secretary for nearly eighteen

months, he led DoD through an unprecedented time of civil unrest, public health crises,

growing threats abroad, Pentagon transformation, and a White House seemingly bent on

circumventing the Constitution. A Sacred Oath is Secretary Esper’s unvarnished and

candid memoir of those remarkable and dangerous times. The Manuscript is scheduled

for publication in May 2022, and copies can be pre-ordered on Amazon.com at

https://rb.gy/qdtp1y.

   7. Following submission, over the next nearly six months, Secretary Esper engaged

in extensive interactions and coordination with DoDOPSR staff regarding the review of

his Manuscript. He stayed in regular contact to ensure a timely review was occurring and

requested specific deadlines for the process to be completed in order to make publication


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deadlines, but the review continued to drag on. Upon information and belief, the length of

time Defendant DoD was taking to review and approve Secretary Esper’s manuscript was

unusual for a former Secretary of Defense.

   8. On October 7, 2021, a DoDOPSR staff member e-mailed Secretary Esper that

       your manuscript review is complete and your manuscript has been
       “Cleared As Amended”. I attach your “cleared as amended” letter and a
       copy of the pages requiring amendment. Originally we hoped to send you
       the entire manuscript with the amended pages in context, but that file was
       too big, and so we send here just the amended pages, with the stamped
       Title page as your receipt. I attach a colored version that shows
       recommended text; I will forward separately a black and white version
       that may provide more contrast and may be easier to read and work with.

   9. Between October 7, 2021, and November 8, 2021, Secretary Esper engaged with

DoD to understand the rationale behind their redactions, resolve issues, and to propose

ways forward to ensure full approval of his Manuscript.

   10. By letter dated November 8, 2021, Secretary Esper e-mailed current Secretary of

Defense Lloyd Austin regarding his concerns surrounding the prepublication

classification review process. He noted that “[w]hen I submitted the manuscript in May, I

was confident that nothing in the document contains classified information or

compromises national security. I still hold that view …. However, upon return of the

document to me last month by DOPSR, multiple words, sentences, and paragraphs from

approximately sixty pages of the manuscript were redacted. No written explanation was

offered to justify the deletions. My follow-on conversations with the DOPSR official

handling my case confirmed my assessment. He similarly has been unable to assert that

the redacted items contain classified information or compromise national security.”

Secretary Esper further explained:



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 For example, some requested redactions asked me to not quote former
 President Trump and others in meetings, to not describe conversations
 between the former president and me, and to not use certain verbs or
 nouns when describing historical events. I was also asked to delete my
 views on the actions of other countries, on conversations I held with
 foreign officials, and regarding international events that have been widely
 reported. Many items were already in the public domain; some were even
 published by DOD. For me to redact or alter all of the items currently
 required by the DOPSR review not only grossly exceeds the purpose of
 the process, but doing so would be a serious injustice to important
 moments in history that the American people need to know and
 understand.

 Just the same, I engaged in a good faith effort with DOPSR later in
 October 2021 to address the Defense Department’s top issues of concern.
 As a result, I deleted some parts of my manuscript, made changes to
 others, and demonstrated that at least one top tier DOD concern was in the
 public space already. Further undermining the credibility of this process is
 the fact that the information struck from this last redaction was made
 public by DOD itself in January 2020, eleven months earlier.

 I made other adjustments to the manuscript, but declined to make
 alterations that reflect my personal views and opinions, or that are
 important to the history of this tumultuous period, for example.

                                     ****

 On Friday, November 5, I discussed the manuscript review with your chief
 of staff, Ms. Kelly Magsamen, and the DOD Director of Administration
 and Management, Mr. Mike Donley, to help further this process toward
 quick resolution. They proposed that I sit down with OSD Policy – the
 source for a majority of the redactions – to try and find compromise
 language. While I appreciate their efforts, I should not be required to
 change my views, opinions, or descriptions of events simply because they
 may be too candid at times for normal diplomatic protocol. After all, the
 DOPSR process is about protecting classified information and not harming
 national security -- two important standards to which I am fully
 committed. Moreover, my Constitutional rights should not be abridged
 because my story or choice of words may prompt uncomfortable
 discussions in foreign policy circles.

 Rather, having addressed all but one of the department’s top issues of
 concern, I shared with Magsamen and Donley my view that the
 manuscript be approved immediately as edited in prior discussions with
 DOPSR.


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       As a second path forward, I formally requested on November 5 that all
       entities that reviewed my manuscript be given one week -- until
       November 12, 2020 -- to justify their redactions and edits. The reviewing
       entities should be required to provide any documentation (dated prior to
       May 23, 2020) that proves the specific parts of my manuscript they
       redacted are classified or would harm national security. Such a directive is
       within your authority to issue and require, as we both know.

       Should the decision be made to not require the provision of these
       justifications, or that none are received in time, then I can only conclude
       that my ongoing assessment – that nothing in my manuscript is classified
       or would compromise national security – remains true.

   11. No response was ever received from Secretary Austin. But on November 12,

2021, a DoDOPSR staff member e-mailed Secretary Esper that the:

       second manuscript review is complete and your manuscript remains
       “Cleared as Amended”. I attach your “cleared as amended” letter and a
       copy of the 39 pages requiring amendment. I attach here a colored version
       that shows recommended text; I will forward separately a black and white
       version that may provide more contrast and may be easier to read and
       work with. Be advised that this reconsideration, in the interest of a rapid
       response, did not include other agencies outside DoD.

   12. During the time DoD was conducting its prepublication classification review,

certain stories that Secretary Esper described in the Manuscript suddenly appeared in

mainstream media articles. At least one story, which was more than a year old and known

to only a small handful of senior DoD officials, had not previously been publicly

discussed and the timing of the appearance appears suspicious. Upon information and

belief, one or more DoD officials (or possibly those in other agencies who received the

referral from DoD) involved with the prepublication review process leaked this

information, possibly to undermine the impact it would have had were it to first appear in

the published version of “A Sacred Oath”.




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   13. Significant text is being improperly withheld from publication in Secretary

Esper’s Manuscript under the guise of classification. The withheld text is crucial to

telling important stories discussed in the Manuscript.

   14. Until such time as Secretary Esper receives final approval from Defendant DoD to

publish all of the intended information within his Manuscript, he is restricted by his

secrecy agreements from authorizing publication, lest he risk civil and criminal liability.

                         FIRST CAUSE OF ACTION
               (FIRST AMENDMENT/DECLARATORY JUDGMENT
            - RIGHT TO PUBLISH - CLASSIFICATION CHALLENGE)

   15. Secretary Esper repeats and realleges the allegations contained in paragraphs 5

through 14 above, inclusive.

   16. Secretary Esper properly submitted, pursuant to one or more secrecy agreements,

his Manuscript for prepublication review.

   17. To the best of Secretary Esper’s knowledge and understanding, the Manuscript

does not contain any classified information.

   18. Defendant DoD is legally prohibited from precluding Secretary Esper from

publishing anything other than classified information and is responsible for addressing

any classification actions imposed by other federal agencies.

   19. Defendant DoD has failed to show that Secretary Esper’s First Amendment rights

to publish are outweighed by the government’s interest in efficiently carrying out its

mission by minimizing harms that are real, not merely conjecture.

   20. Defendant DoD has failed to demonstrate the existence of substantial government

interests that would enable it to prohibit the publication of unclassified information

within Secretary Esper’s Manuscript.


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   21. Defendant DoD’s restrictions imposed upon Secretary Esper have been unduly

vague and were not narrowly confined to avoid infringement of his First Amendment



rights. It has unnecessarily restricted unclassified speech that does not serve to protect

any substantial government interest.

   22. Because Defendant DoD has impermissibly infringed upon Secretary Esper’s

right to publish unclassified information in his Manuscript it has violated his First

Amendment rights.

   23. Secretary Esper has suffered or may suffer actual adverse and harmful effects,

including, but not limited to, possible civil or criminal penalties, and/or lost or

jeopardized present or future financial and employment opportunities.

                   SECOND CAUSE OF ACTION
     (ADMINISTRATIVE PROCEDURE ACT – UNREASONABLE DELAY)

   24. Secretary Esper repeats and realleges the allegations contained in paragraphs 5

through 14 above, inclusive.

   25. Secretary Esper properly submitted his Manuscript to Defendant DoD for

prepublication classification review in May 2021.

   26. Defendant DoD is required to complete the prepublication classification review of

submissions and justify any redactions within a reasonable period of time.

   27. Defendant DoD has unreasonably delayed completing its final review of Secretary

Esper’s Manuscript, as well as arbitrarily and capriciously failed to cooperate with him to

minimize/eliminate any already identified concerns.

   28. By unreasonably delaying completion of its classification review and properly

justifying its redactions, Defendant DoD has impermissibly infringed upon Secretary

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Esper’s right to publish the information contained within his Manuscript. Thus, Secretary

Esper has suffered or may suffer actual adverse and harmful effects, including, but not

limited to, possible civil or criminal penalties, a delay in being able to timely on

information of public interest, and/or lost or jeopardized present or future financial

opportunities, which impairs his ability to serve the public.

                    THIRD CAUSE OF ACTION
 (FIRST AMENDMENT/DECLARATORY JUDGMENT – LEGAL COUNSELS’
  ACCESS TO CLASSIFIED INFORMATION/UNREDACTED MANUSCRIPT)

   29. Secretary Esper repeats and realleges the allegations contained in paragraphs 5

through 14 above, inclusive.

   30. In order to be able to fully protect Secretary Esper’s First Amendment rights his

cleared legal counsel will require access to any alleged classified information Defendant

DoD claims is contained within the Manuscript. Upon information and belief, the

undersigned legal counsel holds a valid and current security clearance eligibility that

would permit a review of the relevant information.

   31. Secretary Esper has a First Amendment right to counsel and to present all

arguments to the Court, in camera if appropriate and/or necessary, for its consideration,

as well as to participate in any internal meetings with Defendant DoD to discuss any

redactions. Secretary Esper’s constitutional rights extend to counsel with the appropriate

level of security clearance.

   WHEREFORE, Plaintiff Mark T. Esper requests that the Court award him the

following relief:

   (1) Permanently enjoin Defendant DoD from restraining the publication of any

portion of unclassified text within the Manuscript;


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   (2) Declare and find that the redacted text from the Manuscript is unclassified;

   (3) Order Defendant DoD to permit Secretary Esper’s cleared counsel to have proper

access, subject to the execution of appropriate non-disclosure secrecy agreements if

necessary, to any alleged classified information for purposes of litigating this action;

   (4) Find and declare that Defendant DoD violated the Administrative Procedure Act

and its internal regulations governing prepublication review;

   (5) Award Secretary Esper the costs of the action and reasonable attorney fees under

the Equal Access to Justice Act or any other applicable law; and,

   (6) grant such other relief as the Court may deem just and proper.

Date: November 28, 2021

                                              Respectfully submitted,

                                                     /s/ Mark S. Zaid
                                              __________________________
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